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IN 'I'HE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRIC'I` OF FLORIDA

TAMPA DIVISlON
Jason A. Gaza )
Plaintiff )
) CIVIL ACTION
vs. ) FILE NO. 8112-cv-00291-MSS-TGW
) s
Suncoast Schools Federal Credit Union ) _:;
Defendant ) t fr~
_"’?

MOTION FOR SANCTIONS FOR VIOLATING FEDERAL RULE OFCIV§

PROCEDURE 5.2 AND INCORPORATED MEMORANDUM OF LAW

Now comes the Plaintitf, Jason A. Gaza, Pro Se, with his Motion for Sanctions against

Defendant and Defendant’s Counsel.

BACKGROUND
Plaintiff (hereinaher “Gaza”) filed a motion to compel and a motion for sanctions (D.E.
36) ln addition, Gaza filed a second amended complaint Defendant (hereinafter “Suncoast”)
was required to respond to the amended complaint In the response to the pleading, Suncoast
counter-claimed With the counter-claim, Suncoast attached exhibits. The exhibits contained
very private information of Gaza’s, including his birthdate, social security number, and alleged
account number for Suncoast. Derek Angell contacted Gaza stating that he had filed an

emergency motion to redact. Derek Angell filed more exhibits with this emergency motion, this

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time with only the social security number redacted but still sensitive birthdate information and

account number information remained not at all redacted

FEDERAL RULE OF CIVIL PROCEDURE 5.2
Federal Rule of Civil Procedure 5.2 states:
(a) Redacted Filings. Unless the court orders otherwise, in an electronic or paper
filing with the court that contains an individual's social-security number,
taxpayer-identification number, or birth date, the name of an individual known to
be a minor, or a financial-account number, a party or nonparty making the filing
may include only:

(l) the last four digits of the social-security number and taxpayer-identification
number;

(2) the year of the individual's birth;

(3) the minors initials; and

(4) the last four digits of the financial-account number.

Suncoast’s iiling that is the subject of the emergency motion is unquestionably in violation of
F.R.C.P. 5.2 because Suncoast did not redact everything except "the last four digits of the social-
security number...”

Additionally, Suncoast’s careless behavior continues with the subsequent filing where
Defendant redacts the social security number but still does not redact everything except “the last
four digits of the financial-account number” and “the year of the individuals birth” (See D.E. 39
Exhibit A and Exhibit B).

Gaza’s financial privacy and future is very important to him. Suncoast’s negligence has
caused Gaza much worry and stress. Even more troubling to Gaza is the possibility that breach
may be no accident, but may be retaliation for Gaza’s Motion to Compel and Motion for

Sanctions. The timing is impeccable. Suncoast’s breach may ruin Gaza’s financial security as

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Gaza’s private information was posted in a forum with public access and may possibly remain in

cyberspace forever. Gaza will incur significant expense in monitoring the possible effects of this

breach.

MEMORANDUM OF LAW
Engeseth V. The County of Isanti, Minnesota, in the United States District Court of
Minnesota found that F.R.C.P. 5.2 was violated aher counsel released the social security

numbers and dates of birth of several individuals The Court ordered the following:

“Because of the serious consequences of Moccio's conduct and the lack of
judgment demonstrated by his actions, the Court imposes the following sanctions
under its inherent power: Moccio is ordered to notify all injured individuals of the
improper disclosure of their personal infonnation, to provide each individual with
individualized credit reports and credit monitoring, and to make a payment of
$5,000 to the Second Harvest Heartland food bank.

“These sanctions are meant to punish Moccio for his actions and to deter him
from repeating those actions. The Court is deeply concerned with the harmful and
widespread ramifications associated with negligent and inattentive electronic
filing of court documents Although electronic filing significantly improves the
efficiency and accessibility of our court system, it also elevates the likelihood of
identity then and damage to personal privacy when lawyers fail to follow federal
and local rules. The Court therefore imposes upon Moccio the costs associated
with preventing identity theft for the harmed parties The Court also orders
Moccio to pay $5000 to the Second Harvest Heartland food bank so that he will
keep in mind the interests and safety of dependent parties before he acts in the
future.

The Plaintiti` believes Defendant’s counsel proceeded one step over because they violated
F.R.C.P. 5 .2 on two separate occasions. Gaza asks the Court to utilize its inherent power to
sanction Defendant and provide similar sanctions to what the Engeseth Court provided. Some

ideas for sanction that Gaza can imagine include: donation to charity, service that can monitor

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for identity theft for no less than one year, monetary payment to Gaza, entry of default judgment

against Suncoast, or ordering Defendant’s counsel to community service.

REVOCATION OF DEFENDAN'I"S COUNSEL’S CM/ECF PRIVILEDGES

On July 10, 2009, CM/ECF’s software release 4.0.2 features were added to prevent
violations complained of in this motion. The release notes state that a checkbox has to be
checked next to a statement that “I understand that, if I file, I must comply with the redaction
rules I have read this notice.” before users can log on. The release notes also state “ln addition,
the reminder question Have you redacted? was added to the final docket text review screen
during docketing.”

There is no excuse for the Defendant’s counsel to, not once, but twice, submit sensitive
information that should have been redacted before being filed with CM/ECF after the CM/ECF
warnings In Richard Phillip Kaufman V Intemal Revenue Service, United States District Court
for the District of Columbia, when a Plaintiff was “abusing their electronic filing privileges,”
their CM/ECF privileges were revoked Accordingly the Plaintiff` requests the honorable Court
revoke the Defendant’s counsel’s CM/ECF privileges for at least a period of time if not
permanently

For the reasons set forth above, the Plaintiff moves the Honorable Court to Sanction the
Defendant and the Defendant’s Counsel and revoke the Counsel’s CM/ECF privileges

Certification Pursuant to Local Rule 3.01(g)
Plaintiff` has attempted to confer with Counsel via email in accordance with Local Rule

3.01(g) and Counsel has not gotten back to Plaintiff`.

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Certificate of Service

I HEREBY CERTIFY that on July 9, 2012, a copy of this Motion for Sanctlons was served on

Derek An gell via email at DAngell@oconlaw. com.
”/
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